[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION ON MOTION FOR SUMMARY JUDGMENT (104)
This is a motion by which plaintiff seeks to recover the balance due for temporary employee services rendered to defendant. Defendant has filed an answer and the pleadings are closed. Plaintiff has moved for summary judgment.
On motion for summary judgment the rules required that judgment be rendered forthwith if the pleadings, affidavits and other proof submitted show that there is no genuine issue as to any material fact and that the moving party is entitled to judgment as a matter of law. Connecticut Practice Book 384. CT Page 3214
Plaintiff has submitted an affidavit and other evidence which supports its claim for summary judgment and defendant has failed to submit any evidence to the contrary. Where, as here, a party does not respond to the proof offered by the moving party, the court is entitled to rely on the facts stated in the affidavits of the movant. Bartha v. Waterbury House Wrecking Co., 190 Conn. 8, 11.
A review of the proof submitted by plaintiff and a consideration of the applicable law causes the court to conclude that there is no genuine issue of fact and that plaintiff is entitled to judgment as a matter of law.
Accordingly, summary judgment is rendered for plaintiff in the amount of $15,026.69.
PURTILL, JUDGE